                                          In the
                      United States District Court
                                          For the
                     Western District of Wisconsin
Lisa Purtue,

       Plaintiff,

        v.                                      Case No. 18-cv-204

State of Wisconsin Department of Corrections,
and Joseph Falke, Shawna Uecker, Cheryl Eplett, William Pollard,
Jim Schwochert, Marc Clements, Kelli Brown,
Kari Beier, Tonja Hesselberg, Winn Collins,
Makda Fessahaye, and Cathy Jess,

       Defendants.



                    PLAINTIFF’S NOTICE OF APPEAL FROM A
                     JUDGMENT OF THE DISTRICT COURT



      The Plaintiff, Lisa Purtue, by her attorneys, the Jeff Scott Olson Law Firm, S.C.,

by Jeff Scott Olson, hereby appeals to the United States Court of Appeals for the

Seventh Circuit from the Judgment entered on August 16, 2019 (dkt. # 59), in favor of

the Defendants.




               Dated this Wednesday, September 04, 2019.

                           Respectfully submitted,

                           Lisa Purtue,
                             Plaintiff,

                             By

                             THE JEFF SCOTT OLSON LAW FIRM, S.C.
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                             /s/ Jeff Scott Olson
                             ______________________________
                             JEFF SCOTT OLSON

                             ATTORNEYS FOR PLAINTIFFS




                                     Certificate of Service

I hereby certify that on Wednesday, September 04, 2019, I electronically filed the foregoing

with the Clerk of the Court using the ECF system which will send notification of such filing

to the following: Gesina Seiler Carson and Rachel L. Bachhuber, and I hereby certify that I

have mailed by United States Postal Service the document to the following non ECF

participants: none.

                                            /s/Jeff Scott Olson
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